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                                       CAYMAN ISLANDS




                                COMPANIES ACT
                                          (2023 Revision)


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                                                                               EXHIBIT

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      Section 47                                                         Companies Act (2023 Revision)


           between two or more members or alleged members, or between any members or
           alleged members and the company, and generally, the Court may, in any such
           proceeding, decide any question that it may be necessary or expedient to decide for
           the rectification of the register:
           Provided that the Court may direct an issue to be tried, on which any question of law
           may be raised.
47.   Notice to Registrar of rectification of register
      47. Whenever any order has been made rectifying the register, in the case of a company
          required by this Act to send a list of its members to the Registrar, the Court shall, by
          its order, direct that due notice of such rectification be given to the Registrar.
48.   Register to be evidence
      48. The register of members shall be prima facie evidence of any matters by this Act
          directed or authorised to be inserted therein.


                                        Liability of Members
49.   Liability of present and past members of company
      49. In the event of a company being wound up every present and past member of such
          company shall be liable to contribute to the assets of the company to an amount
          sufficient for payment of the debts and liabilities of the company, and the costs,
          charges and expenses of the winding up and for the payment of such sums as may be
          required for the adjustment of the rights of the contributories amongst themselves:
           Provided that —
                   (a) a past member shall not be liable to contribute to the assets of the company
                       if that person has ceased to be a member for a period of one year or
                       upwards prior to the commencement of the winding up;
                   (b) a past member shall not be liable to contribute in respect of any debt or
                       liability of the company contracted after the time at which that person
                       ceased to be a member;
                   (c) a past member shall not be liable to contribute to the assets of the company
                       unless it appears to the Court that the existing members are unable to
                       satisfy the contributions required to be made by them under this Law;
                   (d) in case of a company limited by shares, no contribution shall be required
                       from any member exceeding the amount, if any, unpaid on the shares in
                       respect of which that person is liable as a present or past member except
                       where such member or past member holds or held shares of a class which
                       are expressly stated in the memorandum of association to carry unlimited
                       liability, as provided in section 8(2);


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      Section 90                                                          Companies Act (2023 Revision)


                   “professional service provider” means a person who contracts to provide
                   general managerial or administrative services to a company on an annual or
                   continuing basis;
                   “qualified insolvency practitioner” means a person holding the qualifications
                   specified in the regulations made by the Insolvency Rules Committee under
                   section 155 or such other qualifications as the Court considers appropriate for
                   the conduct of the winding up of a company;
                   “Rules” mean rules prescribed by the Insolvency Rules Committee;
                   “shadow director” means, in relation to a company, any person in accordance
                   with whose directions or instructions the directors of the company are
                   accustomed to act, but the person is not deemed to be a shadow director by
                   reason only that the directors act on advice given by that person in a professional
                   capacity; and
                   “winding up order” includes an order that a voluntary winding up continue
                   under the supervision of the Court and references to a company being wound up
                   by the Court includes a company which is being wound up under the supervision
                   of the Court.
90.   Alternative modes of winding up
      90. A company may be wound up —
                   (a) compulsorily by order of the Court;
                   (b) voluntarily —
                       (i) by virtue of a special resolution;
                       (ii) because the period, if any, fixed for the duration of the company by
                             its articles of association has expired; or
                       (iii) because the event, if any, has occurred, on the occurrence of which
                             its articles of association provide that the company shall be
                             wound up; or
                   (c) under the supervision of the Court.
91.   Jurisdiction of the Court
      91. The Court has jurisdiction to make winding up orders in respect of —
                   (a)   an existing company;
                   (b)   a company incorporated and registered under this Law;
                   (c)   a body incorporated under any other law; and
                   (d)   a foreign company which —
                         (i) has property located in the Islands;
                         (ii) is carrying on business in the Islands;
                         (iii) is the general partner of a limited partnership; or

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      Section 105                                                         Companies Act (2023 Revision)


105. Appointment of official liquidator
      105. (1) For the purpose of conducting the proceedings in winding up a company and
               assisting the Court therein, there may be appointed one or more than one person
               to be called an official liquidator or official liquidators; and the Court may
               appoint to such office such person as it thinks fit, and if more persons than one
               are appointed to such office, the Court shall declare whether any act hereby
               required or authorised to be done by the official liquidator is to be done by all
               or any or more of such persons.
           (2) The Court may also determine whether any and what security is to be given by
               an official liquidator on that person’s appointment; and if no official liquidator
               is appointed, or during any vacancy in such office, all the property of the
               company shall be in the custody of the Court.
           (3) The liquidator shall, within twenty-eight days of the date upon which the
               winding up order is made, summon —
               (a) a meeting of the company’s creditors if the order was made on the grounds
                    that the company is insolvent; or
               (b) a meeting of the company’s contributories if the order was made on
                    grounds other than insolvency,
                    for the purposes of resolving any other matters which the liquidator puts before
                    the meeting.
           (4) The Court may make an order dispensing with the need to summon a meeting
               under this section or extending the time within which it shall be summoned.
106. Appointment of joint liquidators
      106. When two or more persons are appointed to the office of liquidator, either
           provisionally or as official liquidators, they shall be authorised to act jointly and
           severally, unless their powers are expressly limited by order of the Court.
107. Removal of official liquidators
      107. An official liquidator may be removed from office by order of the Court made on the
           application of a creditor or contributory of the company.
108. Qualifications of official liquidators
      108. (1) A foreign practitioner may be appointed to act jointly with a qualified
               insolvency practitioner.
           (2) Official liquidators are officers of the Court.
109. Remuneration of official liquidators and restructuring officers
      109. (1) The expenses properly incurred in the winding up, including the remuneration
               of the liquidator, are , subject to subsection (2), payable out of the company’s
               assets in priority to all other claims.

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        Companies Act (2023 Revision)                                                     Section 110


             (2) Where a company is wound up, the expenses properly incurred in any petition
                 for a restructuring officer and during the term of appointment of the
                 restructuring officer appointed —
                 (a) under section 91B(3)(a); or
                 (b) on an interim basis under section 91C(3), including the remuneration of
                       the restructuring officer, are payable out of the company’s assets in priority
                       to all other claims.
             (3) There shall be paid to a restructuring officer, including a restructuring officer
                 appointed on an interim basis, and the official liquidator, such remuneration, by
                 way of percentage or otherwise, that the Court may direct acting in accordance
                 with rules made under section 155.
             (4) If more than one restructuring officer, including a restructuring officer
                 appointed on an interim basis, is appointed by the Court under section 91B or
                 91C, the remuneration paid under subsection (3) shall be distributed among the
                 restructuring officers in such proportions as the Court may direct.
             (5) If more than one official liquidator is appointed by the Court when a company
                 is wound up, the remuneration paid under subsection (3) shall be distributed
                 among the official liquidators in such proportions as the Court may direct.
  110. Function and powers of official liquidators
        110. (1) It is the function of an official liquidator —
                   (a) to collect, realise and distribute the assets of the company to its creditors
                       and, if there is a surplus, to the persons entitled to it; and
                   (b) to report to the company’s creditors and contributories upon the affairs of
                       the company and the manner in which it has been wound up.
             (2) The official liquidator may —
                 (a) with the sanction of the Court, exercise any of the powers specified in Part
                      I of Schedule 3; and
                 (b) with or without that sanction, exercise any of the general powers specified
                      in Part II of Schedule 3.
             (3) The exercise by the liquidator of the powers conferred by this section is subject
                 to the control of the Court, and subject to subsection (5), any creditor or
                 contributory may apply to the Court with respect to the exercise or proposed
                 exercise of such powers (hereinafter referred to as a “sanction application”).
             (4) In the case of —
                 (a) a solvent company, a sanction application may only be made by a
                       contributory and the creditors shall have no right to be heard;
                 (b) an insolvent company, a sanction application may only be made by a
                       creditor and the contributories shall have no right to be heard; and


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      Section 132                                                         Companies Act (2023 Revision)


                    (b) the supervision of the Court will facilitate a more effective, economic or
                        expeditious liquidation of the company in the interests of the contributories
                        and creditors.
132. Appointment of official liquidator
      132. (1) When making a supervision order the Court —
                    (a) shall appoint one or more qualified insolvency practitioners; and
                    (b) may, in addition, appoint one or more foreign practitioners,
                    as liquidator or liquidators of the company and section 105 shall apply as if the
                    Court had made a winding up order.
           (2) Unless a voluntary liquidator is appointed as an official liquidator, that person
               shall prepare a final report and accounts within twenty-eight days from the date
               of the supervision order.
133. Effect of supervision order
      133. A supervision order shall take effect for all purposes as if it was an order that the
           company be wound up by the Court except that —
                    (a) the liquidation commenced in accordance with section 117; and
                    (b) the prior actions of the voluntary liquidator shall be valid and binding upon
                        the company and its official liquidator.


                                        Offences of fraud, etc.
134. Fraud, etc. in anticipation of winding up
      134. (1) Where a company is ordered to be wound up by the Court, or passes a resolution
               for voluntary winding up, any person, who is or was an officer, professional
               service provider, voluntary liquidator, restructuring officer or controller of the
               company and who, within the twelve months immediately preceding the
               commencement of the winding up, has —
                    (a) concealed any part of the company’s property to the value of ten thousand
                        dollars or more or concealed any debt due to or from the company;
                    (b) removed any part of the company’s property to the value of ten thousand
                        dollars or more;
                    (c) concealed, destroyed, mutilated or falsified any documents affecting or
                        relating to the company’s property or affairs;
                    (d) made any false entry in any documents affecting or relating to the
                        company’s property or affairs;
                    (e) parted with, altered or made any omission in any document affecting or
                        relating to the company’s property or affairs; or


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       Companies Act (2023 Revision)                                                    Section 135


                  (f)   pawned, pledged or disposed of any property of the company which has
                        been obtained on credit and has not been paid for (unless the pawning,
                        pledging or disposal was in the ordinary way of the company’s business),
                  with intent to defraud the company’s creditors or contributories commits an
                  offence and is liable on conviction to a fine and to imprisonment for five years.
            (2) In this section —
                “officer” includes a shadow director.
  135. Transactions in fraud of creditors
       135. Where a company is ordered to be wound up by the Court or passes a resolution for
            voluntary winding up, any officer, restructuring officer, controller or professional
            service provider of the company who —
                  (a) has made or caused to be made any gift or transfer of, or charge on, or has
                      caused or connived at the levying of any execution against, the company’s
                      property; or
                  (b) has concealed or removed any part of the company’s property,
                  with intent to defraud the company’s creditors or contributories commits an
                  offence and is liable on conviction to a fine and to imprisonment for five years.
  136. Misconduct in course of winding up
       136. (1) Where a company is being wound up, whether by the Court or voluntarily, a
                person who is or was a director, officer, restructuring officer, controller or
                professional service provider of the company and who —
                  (a) does not to the best of that person’s knowledge and belief fully and truly
                      discover to the liquidator —
                      (i) all the company’s property (except such part as has been disposed of
                            in the ordinary way of the company’s business);
                      (ii) the date on which and manner in which the company’s property or
                            any part thereof property was disposed of, if it was disposed of;
                      (iii) the persons to whom any property was transferred, if it was disposed
                            of; or
                      (iv) the consideration paid for any property which was disposed of;
                  (b) does not deliver up to the liquidator or does not deliver up in accordance
                      with the directions of the liquidator any of the company’s property which
                      is in that person’s custody or under that person’s control, and which that
                      person is required by law to deliver up;
                  (c) does not deliver up to the liquidator or does not deliver up, in accordance
                      with the directions of the liquidator, all documents in that person’s custody




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                       or under that person’s control which belong to the company and which that
                       person is required by law to deliver up;
                   (d) knows or believes that a false debt has been proved by any person in the
                       winding up and fails to inform the liquidator of such knowledge or belief
                       as soon as practicable;
                   (e) prevents the production of any document affecting or relating to the
                       company’s property or affairs; or
                   (f) destroys, mutilates, alters or falsifies any books, papers or securities, or
                       makes or is privy to the making of any false or fraudulent entry in any
                       register, book of account or document belonging to the company,
                   with intent to defraud the company’s creditors or contributories commits an
                   offence and is liable on conviction to a fine of twenty five thousand dollars or
                   to imprisonment for a term of five years, or to both.
          (2) In this section —
              “officer” includes a shadow director.
137. Material omissions from statement relating to company’s affairs
     137. (1) Where a company is being wound up, whether by the Court or voluntarily, a
              person who is or was a director, an officer, a manager, restructuring officer,
              controller or a professional service provider of the company, commits an
              offence if that person makes any material omission in any statement relating to
              the company’s affairs, with intent to defraud the company’s creditors or
              contributories.
          (2) A person who commits an offence under subsection (1) is liable on conviction
              to a fine of twenty-five thousand dollars or to imprisonment for a term of five
              years, or to both.
          (3) In this section —
              “officer” includes a shadow director.


                                        General provisions
138. Getting in the company’s property
     138. (1) Where any person has in that person’s possession any property or documents to
              which the company appears to be entitled, the Court may require that person to
              pay, transfer or deliver such property or documents to the official liquidator.
          (2) Where the official liquidator seizes or disposes of any property which that
              person reasonably believed belonged to the company, that person shall not be
              personally liable for any loss or damage caused to its true owner except in so far
              as such loss or damage is caused by that person’s own negligence.


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SCHEDULE 2                                                       Companies Act (2023 Revision)


                                   SCHEDULE 2
                                                                                (section 141)

                        Categories of Preferred Debts

                        Category 1: Debts due to employees
1.   Any sum due by the company to an employee, whether employed in the Islands or
     elsewhere, in respect of —
           (a) salaries;
           (b) wages; and
           (c) gratuities,
     accrued due during the four months immediately preceding the commencement of the
     liquidation.
2.   Any sum due and payable by the company on behalf of an employee in respect of
     medical health insurance premiums or pension fund contributions.
3.   Where a contract of employment has been terminated as a consequence of the
     company going into liquidation, any sum due by the company to any former employee
     in respect of:
           (a) severance pay; and
           (b) earned vacation leave.
4.   Any sum payable to a workman in respect of compensation pursuant to the
     Workmen’s Compensation Act (1996 Revision).
5.   An employee may claim in the liquidation as an ordinary creditor in respect of any
     other sum due to that person pursuant to or by virtue of the breach of that person’s
     contract of employment or any tortious claim against the company.
6.   The words and expressions used in paragraphs 1 and 2 have the meanings ascribed to
     them by the Labour Act (2021 Revision).

                     Category 2: Debts due to bank depositors
1.   Any sum due to eligible depositors who have deposits with a company which —
           (a) is incorporated in the Islands; and
           (b) held an “A” licence issued under the Banks and Trust Companies Act
               (2021 Revision),
     and which does not exceed the deposit limit.
2.   The following depositors are not eligible depositors —


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                  (a) a person who holds or is considered to hold a deposit after the presentation
                      of the petition for the winding up of the bank or the commencement of the
                      voluntary winding up of the bank (except in the case of the death of the
                      owner of the deposit); and
                  (b) the following persons making deposits as —
                      (i) a person licensed under section 6(1) of the Banks and Trust
                            Companies Act (2021 Revision);
                      (ii) a person authorised, licensed or recognised as a bank or deposit
                            holder in a country or territory outside the Islands;
                      (iii) a person who, in the opinion of the Court, has any responsibility for,
                            or may have profited, or may profit, directly or indirectly, from the
                            winding up;
                      (iv) a person who was, at the date of presentation of the petition for the
                            winding up of the bank or the commencement of the voluntary
                            winding up of the bank, a director, controller or manager of the bank
                            or who, in the opinion of the court exercised such functions;
                      (v) a person who is the legal or beneficial owner of five percent or more
                            of the shares of all classes issued by the bank; or
                      (vi) a company or corporation, whether or not incorporated in the Islands,
                            which is, at the date of the presentation of the petition for the winding
                            up of the bank or the commencement of the voluntary winding up of
                            the bank, a parent, subsidiary or fellow subsidiary of the bank, or
                            which is in common ownership with the bank.
       3.   The deposit limit is twenty thousand dollars in respect of each eligible depositor or
            its equivalent in any foreign currency for which purpose the applicable exchange rate
            shall be that determined by the Court in accordance with section 150.
       4.   For the purpose of calculating the amount of eligible deposits —
                  (a) separate deposits in the same legal or beneficial ownership shall be
                      aggregated and treated as one deposit;
                  (b) the ownership of a deposit in joint names shall be deemed to be divided
                      equally between the joint depositors;
                  (c) the ownership of a deposit in the name of a partnership shall be deemed to
                      be divided equally among the partners;
                  (d) a deposit which is a client account, and which is designated as such, shall
                      be treated as a separate deposit, made by the client of the depositor, of
                      amounts corresponding to the amount to which such client is entitled; and
                  (e) the amount of each eligible deposit shall be reduced by the amount of any
                      liability of the depositor to the bank in respect of which a right of set-off




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               existed at the date of the presentation of the petition for the winding up of
               the bank, or the commencement of the voluntary winding up of the bank.

                    Category 3: Taxes due to the Government
1.   Sums due in respect of duty and penalties payable under the Customs and Border
     Control Act (2022 Revision).
2.   Sums due in respect of fees payable under this Law.
3.   Sums due in respect of duty and penalties payable under the Stamp Duty Act (2019
     Revision).
4.   Sums due in respect of licence fees payable under the regulatory laws.
5.   Sums due in respect of taxes payable under the Tourist Accommodation (Taxation)
     Act (2013 Revision).




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